Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 1 of 22 PageID 1




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 VICTORIA MILEY,

        Plaintiff,

 v.                                                                  Case No:

 COMCAST OF ARKANSAS/
 FLORIDA/LOUISIANA/
 MINNESOTA/MISSISSIPPI/                                              DEMAND FOR JURY TRIAL
 TENNESSEE, LLC and FMS
 INVESTMENT CORP.

       Defendants.
 _____________________________/


                                  PLAINTIFF’S COMPLAINT
                              WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, VICTORIA MILEY (“Ms. Miley” or “Plaintiff”), by

 and through the undersigned counsel, and hereby sues and files this Complaint and

 Demand for Jury Trial with Injunctive Relief Sought against Defendants, COMCAST

 OF      ARKANSAS/FLORIDA/LOUISIANA/MINNESOTA/MISSISSIPPI/TENNE

 SSEE, LLC (“Debt Owner”), and FMS INVESTMENT CORP. (“Debt Collector”)

 (collectively “Defendants”), and in support thereof states as follows:

                                                   Introduction

        1.         This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendants’ violations of the Restrictions on Use of

 Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer


                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 1 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 2 of 22 PageID 2




 Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

 such alleged Debt by using an automatic telephone dialing system or an artificial or

 prerecorded voice to call Ms. Miley’s Cellular Telephone after Ms. Miley expressly

 revoked consent for Debt Owner to place calls to her Cellular Telephone, and by

 continuing to place calls to Ms. Miley’s home telephone despite her request that all calls

 cease because she had lost her job and could not afford to pay the alleged Debt, which

 can reasonably be expected to harass Ms. Miley.

                                             Jurisdiction and Venue

         2.         This Court has subject matter jurisdiction over the instant case under 28

 U.S.C. §1331.

         3.         Jurisdiction of this Court also arises under 15 U.S.C. § 1692k (d) and Fla.

 Stat. § 559.77 (1).

         4.         Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), as a

 substantial part of the events or omissions giving rise to the claims occurred in this

 judicial district.

                                                        Parties

         5.         Plaintiff, Ms. Miley, was and is a natural person and, at all times material

 hereto, is an adult, a resident of Duval County, Florida, a “consumer” as defined by 15

 U.S.C. § 1692a (3), and a “debtor” or “consumer” as defined by Fla. Stat. § 559.55 (8).

         6.         Ms. Miley is the “called party” as referenced in the TCPA, 47 U.S.C. §

 227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 904-***-0313 (“Ms.

 Miley’s Cellular Telephone”).



                          Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
        Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 2 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 3 of 22 PageID 3




          7.       At all times material hereto, Debt Owner was and is a limited liability

 company with its principle place of business in the State of PA and its registered agent, C

 T CORPORATION SYSTEM, located at 1200 South Pine Island Road, Plantation, FL

 33324.

          8.       At all times material hereto, Debt Collector was and is a corporation with

 its principle place of business in the State of IL and its registered agent, C T

 CORPORATION SYSTEM, located at 1200 South Pine Island Road, Plantation, FL

 33324.

          9.       Further, at all times material hereto, Debt Collector is a “Consumer

 Collection Agency” as defined by Fla. Stat. § 559.55(3) and/or a “Debt Collector” as

 defined by Fla. Stat. § 559.55(7) and 15 U.S.C. § 1692a (6).

          10.      At all times material hereto, Debt Collector was performing debt

 collection owed to Debt Owner to satisfy Ms. Miley’s alleged debt.

          11.      At all times material hereto, Debt Collector was acting within the scope of

 employee, representative, or agent on behalf of Debt Owner for purposes of collecting

 Ms. Miley’s alleged debt for Debt Owner.

          12.      As such, Debt Owner is responsible for the conduct of Debt Collector as

 its employee, representative, or agent.

          13.      Under information and belief, Debt Owner granted Debt Collector access

 to information and systems that normally would be within Debt Owner’s exclusive

 control, including, but not limited to Ms. Miley’s information.




                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 3 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 4 of 22 PageID 4




        14.        Under information and belief, Debt Owner allowed Debt Collector to enter

 Ms. Miley’s information into Debt Collector’s sales or customer systems.

        15.        Under information and belief, Debt Owner gave Debt Collector authority

 to use the principal’s trade name, trademark, or service mark.

        16.        Under information and belief, Debt Owner approved, wrote, or reviewed

 form letters and telephone scripts for Debt Collector to use when contacting Ms. Miley.

        17.        Under information and belief, via a contractual relationship between the

 parties, Debt Owner had control or the ability to control Debt Collector’s actions in

 attempting to collect Ms. Miley’s debt on behalf of Debt Owner.

        18.        Alternatively, at all times material hereto, Debt Collector and Debt Owner

 have entered into a contract that establishes an agency relationship between the

 Defendants.

                                               Statements of Fact

        19.        Ms. Miley opened an account with Debt Owner for her personal cable and

 internet services (“Account”).

        20.        Sometime thereafter, Ms. Miley lost her job and encountered financial

 difficulties that caused her to fall behind on her monthly payments to Debt Owner and

 incurred an outstanding balance owed on the Account (“Debt”).

        21.        In or around July of 2016, Debt Owner began placing calls to Ms. Miley’s

 Cellular Telephone in attempts to collect the Debt.




                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 4 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 5 of 22 PageID 5




        22.        Ms. Miley answered several of Debt Owner’s first few calls and informed

 Debt Owner that she had lost her job, had no money to pay Debt Owner, and demanded

 that Debt Owner stop calling her Cellular Telephone.

        23.        Ms. Miley also answered several of Debt Owner’s calls to her Cellular

 Telephone that used a prerecorded voice and pressed “1” to opt-out of Debt Owner’s

 continued calls to her Cellular Telephone.

        24.        Despite Ms. Miley’s repeated demands, Debt Owner continued to place

 calls to Ms. Miley’s Cellular Telephone in attempts to collect the Debt.

        25.        Debt Owner thereafter called Ms. Miley’s Cellular Telephone at least one

 hundred (100) times.

        26.        Debt Owner called Ms. Miley’s Cellular Telephone up to five (5) times

 per day.

        27.        Upon answering at least one of Debt Owner’s calls to her Cellular

 Telephone, Ms. Miley heard a pause before she was connected to a live representative of

 Debt Owner.

        28.        Around this same time, Debt Owner also began placing calls to Ms.

 Miley’s home telephone in attempts to collect the Debt.

        29.        Ms. Miley answered several of Debt Owner’s first few calls to her home

 telephone and informed Debt Owner that she had lost her job, had no money to pay Debt

 Owner, and demanded the Debt Owner stop calling her home telephone.




                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 5 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 6 of 22 PageID 6




        30.        Despite Ms. Miley’s demands for Debt Owner to stop calling her home

 telephone, Debt Owner continued to place calls to Ms. Miley’s home telephone number

 in attempts to collect the Debt.

        31.        Debt Owner called Ms. Miley’s Cellular Telephone and home telephone

 from several phone numbers, including, but not limited to: 1-888-739-1379.

        32.        Sometime thereafter, the Debt was assigned, transferred, or sold to Debt

 Collector.

        33.        Picking up where Debt Owner left off, Debt Collector began placing calls

 to Ms. Miley’s Cellular Telephone in attempts to collect the Debt.

        34.        Debt Collector also began placing calls to Ms. Miley’s home telephone in

 attempts to collect the Debt.

        35.        Debt Collector called Ms. Miley’s Cellular Telephone and home telephone

 from several phone numbers, including, but not limited to: 1-800-580-7611.

        36.        Ms. Miley has been harassed by the frequency and timing of Debt

 Owner’s calls.

        37.        All of Debt Owner’s calls to Ms. Miley’s Cellular Telephone were placed

 in attempts to collect the Debt.

        38.        All of Debt Owner’s calls to Ms. Miley’s home telephone were placed in

 attempts to collect the Debt.

        39.        Ms. Miley has been harassed by the frequency and timing of Debt

 Collector’s calls.




                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 6 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 7 of 22 PageID 7




        40.        All of Debt Collector’s calls to Ms. Miley’s Cellular Telephone were

 placed in attempts to collect the Debt.

        41.        All of Debt Collector’s calls to Ms. Miley’s home telephone were placed

 in attempts to collect the Debt.

                Count 1: Violation of the Telephone Consumer Protection Act
                                  (as against Debt Owner)

        42.        Ms. Miley re-alleges paragraphs 1-41 and incorporates the same herein by

 reference.

        43.        The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

 227 (b) (1) prohibits any person

                             (A) to make any call (other than a call made for
                             emergency purposes or made with the prior express
                             consent of the called party) using any automatic
                             telephone dialing system or an artificial prerecorded
                             voice – (iii) to any telephone number assigned to a
                             paging service, cellular telephone service, . . . or
                             any service for which the called party is charged for
                             the call.

        44.        Ms. Miley revoked consent to have Debt Owner call her Cellular

 Telephone by the use of an automatic telephone dialing system (“ATDS”) or artificial

 voice or prerecorded message in or around July of 2016 when she expressly told Debt

 Owner to stop calling her Cellular telephone.

        45.        Ms. Miley also revoked consent to be called by Debt Owner by pressing

 “1” to opt out of Debt Owner’s collection calls.

        46.        Despite this revocation of consent, Debt Owner thereafter called Ms.

 Miley’s Cellular Telephone at least one hundred (100) times.



                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 7 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 8 of 22 PageID 8




        47.        Debt Owner did not place any emergency calls to Ms. Miley’s Cellular

 Telephone.

        48.        Debt Owner willfully and knowingly placed non-emergency calls to Ms.

 Miley’s Cellular Telephone.

        49.        Ms. Miley knew that Debt Owner called Ms. Miley’s Cellular Telephone

 using an ATDS because she heard a pause when she answered at least one of the first few

 calls from Debt Owner on her Cellular Telephone before a live representative of Debt

 Owner came on the line.

        50.        Ms. Miley knew that Debt Owner called Ms. Miley’s Cellular Telephone

 using a prerecorded voice because Debt Owner left Ms. Miley at least one voicemail

 using a prerecorded voice.

        51.        Ms. Miley knew that Debt Owner called Ms. Miley’s Cellular Telephone

 using a prerecorded voice because Ms. Miley answered Debt Owner’s calls which used a

 prerecorded voice.

        52.        Debt Owner used an ATDS when it placed at least one call to Ms. Miley’s

 Cellular Telephone.

        53.        Under information and belief, Debt Owner used an ATDS when it placed

 at least twenty calls to Ms. Miley’s Cellular Telephone.

        54.        Under information and belief, Debt Owner used an ATDS when it placed

 at least fifty calls to Ms. Miley’s Cellular Telephone.

        55.        Under information and belief, Debt Owner used an ATDS when it placed

 all calls to Ms. Miley’s Cellular Telephone.



                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 8 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 9 of 22 PageID 9




        56.        At least one call that Debt Owner placed to Ms. Miley’s Cellular

 Telephone was made using a telephone dialing system that has the capacity to store

 telephone numbers to be called.

        57.        At least one call that Debt Owner placed to Ms. Miley’s Cellular

 Telephone was made using a telephone dialing system that has the capacity to produce

 telephone numbers to be called without human intervention.

        58.        At least one call that Debt Owner placed to Ms. Miley’s Cellular

 Telephone was made using a telephone dialing system that uses a random number

 generator.

        59.        At least one call that Debt Owner placed to Ms. Miley’s Cellular

 Telephone was made using a telephone dialing system that uses a sequential number

 generator.

        60.        At least one call that Debt Owner placed to Ms. Miley’s Cellular

 Telephone was made using a prerecorded voice.

        61.        Debt Owner has recorded at least one conversation with Ms. Miley.

        62.        Debt Owner has recorded more than one conversation with Ms. Miley.

        63.        Debt Owner has corporate policies and procedures in place that permit it

 to use an ATDS or artificial voice or prerecorded message to place call individuals to

 collect alleged debts from said individuals, such as Ms. Miley, for its financial gain.

        64.        Debt Owner has corporate policies and procedures in place that permit it

 to use an ATDS or artificial voice or prerecorded message, and to place calls to

 individuals using such devices, just as it did to Ms. Miley’s Cellular Telephone, with no



                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                        Page 9 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 10 of 22 PageID 10




   way for the called party and recipient of the calls to permit, elect, or invoke the removal

   of the called party and recipient of the calls’ cellular telephone number from Debt

   Owner’s call list.

             65.        The structure of Debt Owner’s corporate policies and/or procedures

   permits the continuation of calls to individuals like Ms. Miley, despite individuals like

   Ms. Miley revoking any consent that Debt Owner believes it may have to place such

   calls.

             66.        Debt Owner knowingly employs methods and has corporate policies and

   procedures that do not permit the cessation or suppression of calls placed using an ATDS

   to individual’s cellular telephones, like the calls that it placed to Ms. Miley’s Cellular

   Telephone.

             67.        Debt Owner has corporate policies to abuse and harass consumers like Ms.

   Miley despite having actual knowledge that they are calling the wrong person and that the

   called person does not wish to be called.

             68.        Debt Owner’s phone calls harmed Ms. Miley by trespassing upon and

   interfering with Ms. Miley’s rights and interests in her Cellular Telephone line.

             69.        Debt Owner’s phone calls harmed Ms. Miley by causing her emotional

   distress.

             70.        Debt Owner’s phone calls harmed Ms. Miley by wasting her time.

             71.        Debt Owner’s phone calls harmed Ms. Miley by causing her stress.

             72.        Debt Owner’s phone calls harmed Ms. Miley by being a nuisance and

   causing her aggravation.



                              Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
            Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                            Page 10 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 11 of 22 PageID 11




          73.        Debt Owner’s phone calls harmed Ms. Miley by causing a risk of personal

   injury to Ms. Miley due to interruption and distraction.

          74.        Debt Owner’s phone calls harmed Ms. Miley by invading her privacy.

          75.        All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Owner as follows:

                a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                     which allows for $500 in damages for each such violation;

                b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

                c. Awarding Plaintiff costs;

                d. Ordering an injunction preventing further wrongful contact by the

                     Defendants; and

                e. Any other and further relief as this Court deems equitable.


                  Count 2: Violation of the Telephone Consumer Protection Act
                                   (as against Debt Collector)

          76.        Ms. Miley re-alleges paragraphs 1-41 and incorporates the same herein by

   reference.

          77.        The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

   227 (b) (1) prohibits any person

                               (A) to make any call (other than a call made for
                               emergency purposes or made with the prior express
                               consent of the called party) using any automatic
                               telephone dialing system or an artificial prerecorded
                               voice – (iii) to any telephone number assigned to a
                               paging service, cellular telephone service, . . . or


                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 11 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 12 of 22 PageID 12




                               any service for which the called party is charged for
                               the call.

          78.        Ms. Miley revoked consent to have Debt Owner call her Cellular

   Telephone by the use of an automatic telephone dialing system (“ATDS”) or artificial

   voice or prerecorded message in or around July of 2016 when she expressly told Debt

   Owner to stop calling her Cellular telephone.

          79.        Ms. Miley also revoked consent to be called by Debt Owner by pressing

   “1” to opt out of Debt Owner’s collection calls.

          80.        Ms. Miley’s revocation of consent for Debt Owner to place calls to her

   Cellular Telephone revoked consent for Debt Collector to place calls to her Cellular

   Telephone, too.

          81.        Accordingly, Debt Collector never had Ms. Miley’s prior express consent

   to place calls to her Cellular Telephone.

          82.        Despite never having Ms. Miley’s prior express consent, Debt Collector

   thereafter called Ms. Miley’s Cellular Telephone at least thirty (30) times.

          83.        Debt Collector did not place any emergency calls to Ms. Miley’s Cellular

   Telephone.

          84.        Debt Collector willfully and knowingly placed non-emergency calls to

   Ms. Miley’s Cellular Telephone.

          85.        Ms. Miley knew that Debt Collector called Ms. Miley’s Cellular

   Telephone using an ATDS because she heard a pause when she answered at least one of

   the first few calls from Debt Collector on her Cellular Telephone before a live

   representative of Debt Collector came on the line.


                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 12 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 13 of 22 PageID 13




          86.        Ms. Miley knew that Debt Collector called Ms. Miley’s Cellular

   Telephone using a prerecorded voice because Debt Collector left Ms. Miley at least one

   voicemail using a prerecorded voice.

          87.        Ms. Miley knew that Debt Collector called Ms. Miley’s Cellular

   Telephone using a prerecorded voice because Ms. Miley answered Debt Collector’s calls

   which used a prerecorded voice.

          88.        Debt Collector used an ATDS when it placed at least one call to Ms.

   Miley’s Cellular Telephone.

          89.        Under information and belief, Debt Collector used an ATDS when it

   placed at least twenty calls to Ms. Miley’s Cellular Telephone.

          90.        Under information and belief, Debt Collector used an ATDS when it

   placed at least fifty calls to Ms. Miley’s Cellular Telephone.

          91.        Under information and belief, Debt Collector used an ATDS when it

   placed all calls to Ms. Miley’s Cellular Telephone.

          92.        At least one call that Debt Collector placed to Ms. Miley’s Cellular

   Telephone was made using a telephone dialing system that has the capacity to store

   telephone numbers to be called.

          93.        At least one call that Debt Collector placed to Ms. Miley’s Cellular

   Telephone was made using a telephone dialing system that has the capacity to produce

   telephone numbers to be called without human intervention.




                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 13 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 14 of 22 PageID 14




           94.       At least one call that Debt Collector placed to Ms. Miley’s Cellular

   Telephone was made using a telephone dialing system that uses a random number

   generator.

           95.       At least one call that Debt Collector placed to Ms. Miley’s Cellular

   Telephone was made using a telephone dialing system that uses a sequential number

   generator.

           96.       At least one call that Debt Collector placed to Ms. Miley’s Cellular

   Telephone was made using a prerecorded voice.

           97.       Debt Collector has recorded at least one conversation with Ms. Miley.

           98.       Debt Collector has recorded more than one conversation with Ms. Miley.

           99.       Debt Collector has corporate policies and procedures in place that permit

   it to use an ATDS or artificial voice or prerecorded message to place call individuals to

   collect alleged debts from said individuals, such as Ms. Miley, for its financial gain.

           100.      Debt Collector has corporate policies and procedures in place that permit

   it to use an ATDS or artificial voice or prerecorded message, and to place calls to

   individuals using such devices, just as it did to Ms. Miley’s Cellular Telephone, with no

   way for the called party and recipient of the calls to permit, elect, or invoke the removal

   of the called party and recipient of the calls’ cellular telephone number from Debt

   Collector’s call list.

           101.      The structure of Debt Collector’s corporate policies and/or procedures

   permits the continuation of calls to individuals like Ms. Miley, despite individuals like




                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 14 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 15 of 22 PageID 15




   Ms. Miley revoking any consent that Debt Collector believes it may have to place such

   calls.

             102.       Debt Collector knowingly employs methods and has corporate policies

   and procedures that do not permit the cessation or suppression of calls placed using an

   ATDS to individual’s cellular telephones, like the calls that it placed to Ms. Miley’s

   Cellular Telephone.

             103.       Debt Collector has corporate policies to abuse and harass consumers like

   Ms. Miley despite having actual knowledge that they are calling the wrong person and

   that the called person does not wish to be called.

             104.       Debt Collector’s phone calls harmed Ms. Miley by trespassing upon and

   interfering with Ms. Miley’s rights and interests in her Cellular Telephone line.

             105.       Debt Collector’s phone calls harmed Ms. Miley by causing her emotional

   distress.

             106.       Debt Collector’s phone calls harmed Ms. Miley by wasting her time.

             107.       Debt Collector’s phone calls harmed Ms. Miley by causing her stress.

             108.       Debt Collector’s phone calls harmed Ms. Miley by being a nuisance and

   causing her aggravation.

             109.       Debt Collector’s phone calls harmed Ms. Miley by causing a risk of

   personal injury to Ms. Miley due to interruption and distraction.

             110.       Debt Collector’s phone calls harmed Ms. Miley by invading her privacy.

             111.       All conditions precedent to this action have occurred.




                              Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
            Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                            Page 15 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 16 of 22 PageID 16




          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Collector as follows:

                a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                     which allows for $500 in damages for each such violation;

                b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

                c. Awarding Plaintiff costs;

                d. Ordering an injunction preventing further wrongful contact by the

                     Defendants; and

                e. Any other and further relief as this Court deems equitable.

             Count 3: Violation of the Fair Debt Collection Practices Act (“FDCPA”)
                                    (as against Debt Collector)

          112.       Ms. Miley re-alleges paragraphs 1-41 and incorporates the same herein by

   reference.

          113.       Ms. Miley is a “consumer” within the meaning of the FDCPA.

          114.       The subject debt is a “consumer debt” within the meaning of the FDCPA.

          115.       Debt Collector is a “debt collector” within the meaning of the FDCPA.

          116.       Debt Collector violated the FDCPA. Debt Collector’s violations

   include, but are not limited to, the following:

                a. Debt Collector generally violated 15 U.S.C. § 1692d (5) by

                     causing Ms. Miley’s home telephone and Cellular Telephone to

                     ring repeatedly or continuously with the intent to annoy, abuse, or

                     harass Ms. Miley.




                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 16 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 17 of 22 PageID 17




          117.       As a result of the above violations of the FDCPA, Ms. Miley has been

   subjected to illegal collection activities for which he has been damaged.

          118.       Debt Collector’s actions have damaged Ms. Miley by causing her

   emotional distress.

          119.       Debt Collector’s actions have damaged Ms. Miley by causing her

   embarrassment.

          120.       Debt Collector’s actions have damaged Ms. Miley by causing her stress.

          121.       Debt Collector’s actions have damaged Ms. Miley by causing her

   aggravation.

          122.       It has been necessary for Ms. Miley to retain the undersigned counsel to

   prosecute the instant action, for which he is obligated to pay a reasonable attorney’s fee.

          123.       All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Collector as follows:

                     a. Awarding            statutory       damages          as     provided        by      15      U.S.C.

                          1692k(a)(2)(A);

                     b. Awarding actual damages;

                     c. Awarding costs and attorneys’ fees; and

                     d. Any other and further relief as this Court deems equitable.

        Count 4: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                   (as against Debt Collector)

          124.       Ms. Miley re-alleges paragraphs 1-41 and incorporates the same herein by

   reference.


                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 17 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 18 of 22 PageID 18




          125.       Debt Collector violated the FCCPA. Debt Collector’s violations include,

   but are not limited to, the following:

                a. Debt Collector violated Fla. Stat. § 559.72(7) by willfully

                     communicating with Ms. Miley with such frequency as can

                     reasonably be expected to harass Ms. Miley, by calling Ms. Miley

                     up to five times in the same day, and by continuing to place calls to

                     Ms. Miley’s Cellular Telephone and home telephone after she

                     demanded such calls cease and told Debt Owner that she cannot

                     pay the Debt, which can reasonably be expected to harass Ms.

                     Miley.

          126.       As a result of the above violations of the FCCPA, Ms. Miley has been

   subjected to unwarranted and illegal collection activities and harassment for which she

   has been damaged.

          127.       Debt Collector’s actions have damaged Ms. Miley by causing her

   emotional distress.

          128.       Debt Collector’s actions have damaged Ms. Miley by causing her

   embarrassment.

          129.       Debt Collector’s actions have damaged Ms. Miley by causing her stress.

          130.       Debt Collector’s actions have damaged Ms. Miley by causing her

   aggravation.

          131.       It has been necessary for Ms. Miley to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.



                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 18 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 19 of 22 PageID 19




          132.       All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Collector as follows:

                     a. Awarding statutory damages as provided by §559.77, Fla. Stat.;

                     b. Awarding actual damages;

                     c. Awarding punitive damages;

                     d. Awarding costs and attorneys’ fees;

                     e. Ordering an injunction preventing further wrongful contact by the

                          Defendants; and

                     f. Any other and further relief as this Court deems equitable.


        Count 5: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)
                                    (as against Debt Owner)

          133.       Ms. Miley re-alleges paragraphs 1-41 and incorporates the same herein by

   reference.

          134.       Debt Owner violated the FCCPA. Debt Owner’s violations include, but

   are not limited to, the following:

                a. Debt Owner violated Fla. Stat. § 559.72(7) by willfully

                     communicating with Ms. Miley with such frequency as can

                     reasonably be expected to harass Ms. Miley, by calling Ms. Miley

                     up to five times in the same day, and by continuing to place calls to

                     Ms. Miley’s Cellular Telephone and home telephone after she

                     demanded such calls cease and told Debt Owner that she cannot



                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 19 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 20 of 22 PageID 20




                     pay the Debt, which can reasonably be expected to harass Ms.

                     Miley.

           135.      At all times relevant hereto, Debt Owner was also vicariously liable for

   the actions of Debt Collector.

           136.      Debt Collector violated the FCCPA. Debt Collector’s violations include,

   but are not limited to, the following:

                a. Debt Collector violated Fla. Stat. § 559.72(7) by willfully

                     communicating with Ms. Miley with such frequency as can

                     reasonably be expected to harass Ms. Miley, by calling Ms. Miley

                     up to five times in the same day, and by continuing to place calls to

                     Ms. Miley’s Cellular Telephone and home telephone after she

                     demanded such calls cease and told Debt Owner that she cannot

                     pay the Debt, which can reasonably be expected to harass Ms.

                     Miley.

           137.      As a result of the above violations of the FCCPA, Ms. Miley has been

   subjected to unwarranted and illegal collection activities and harassment for which she

   has been damaged.

           138.      Defendants’ actions have damaged Ms. Miley by causing her emotional

   distress.

           139.      Defendants’ actions have damaged Ms. Miley by invading her privacy.

           140.      Defendants’ actions have damaged Ms. Miley by causing her

   embarrassment.



                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 20 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 21 of 22 PageID 21




          141.       Defendants’ actions have damaged Ms. Miley by causing her stress.

          142.       Defendants’ actions have damaged Ms. Miley by causing her aggravation.

          143.       It has been necessary for Ms. Miley to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

          144.       All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Debt Owner as follows:

                     a. Awarding statutory damages as provided by §559.77, Fla. Stat.;

                     b. Awarding actual damages;

                     c. Awarding punitive damages;

                     d. Awarding costs and attorneys’ fees;

                     e. Ordering an injunction preventing further wrongful contact by the

                          Debt Owner; and

                     f. Any other and further relief as this Court deems equitable.




                                        DEMAND FOR JURY TRIAL

        Plaintiff, VICTORIA MILEY, demands a trial by jury on all issues so triable.




                           Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
         Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                         Page 21 of 22
Case 8:18-cv-00764-JSM-CPT Document 1 Filed 03/30/18 Page 22 of 22 PageID 22




   Respectfully submitted this March 28, 2018,

                                                             /s/ Michael A. Ziegler
                                                             Michael A. Ziegler, Esq.
                                                             Florida Bar No. 74864
                                                             mike@zieglerlawoffice.com

                                                             Kaelyn Steinkraus, Esq.
                                                             Florida Bar No. 125132
                                                             kaelyn@zieglerlawoffice.com

                                                             Law Office of Michael A. Ziegler, P.L.
                                                             13575 58th Street North, Suite 129
                                                             Clearwater, FL 33760
                                                             (p) (727) 538-4188
                                                             (f) (727) 362-4778
                                                             Attorneys and Trial Counsel for Plaintiff




                         Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
       Miley v. Comcast of Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, LLC and FMS Investment Corp.
                                                       Page 22 of 22
